Case: 1:15-cv-02648 Document #: 177 Filed: 07/24/20 Page 1 of 3 PagelD #:2042

STATE OF ILLINOIS _ )
)SS.
COUNTY OF COOK _ )

I, ANDREA M. VALENCIA, City Clerk of the City of Chicago, in the County of Cook and
State of Illinois, DO HEREBY CERTIFY that the annexed and foregoing is a true and correct copy
of that certain order authorizing the Corporation Counsel to enter into and execute a Settlement
agreement regarding case of Manuel Barrios, Brandon Fuller, Savannah Washington v.

The City of Chicago, cited as 15-CV-02648 (N.D. IL., J. Gottschail)., which order was passed by
the City Council of the City of Chicago at the regular meeting held on the twenty-second (22"")
day of July, 2020. Filed under Document Number 0r2020-169.

I DO FURTHER CERTIFY that the original, of which the foregoing is a true and correct copy

is entrusted to my care for safekeeping, and that I am the lawful keeper of the same.

IN WITNESS WHEREOF, IJ have hereunto set my
hand and affixed the corporate seal of the said City
of Chicago aforesaid, at the said City, in the County
and State aforesaid, this twenty-second (22"4) day
of July, 2020.

(Nin YU. Volo

ANDREA M. VALENCIA, CITY CLERK

[TP]

 
Case: 1:15-cv-02648 Document #: 177 Filed: 07/24/20 Page 2 of 3 PagelD #:2043

CHICAGO July 20, 2020
_ To the President and Members of the City Council:

Your Committee on Finance having had under consideration a proposed order authorizing
the Corporation Counsel to enter into and execute a Settlement Order for the following case:

Manuel Barrios. Brandon Fuller, Savannah Washington v. The City of Chicago. cited as
15-cv-02648 (N.D. IL., J. Gottschall).

Amount: $4,950,000.00

Having had the same under advisement, begs leave to report and recommend that your
Honorable Body pass the proposed

This recommendation was concurred in by the same vote used to establish quorum
of members of the committee with 0 dissenting vote(s).

Respectfully sub

ritted,

     

 

Chairman
Case: 1:15-cv-02648 Document #: 177 Filed: 07/24/20 Page 3 of 3 PagelD #:2044

Ordered, that the Corporation Counsel is hereby authorized and directed to enter into and
execute a Settlement Agreement in the following matter:

Manuel Barrios, Brandon Fuller, Savannah Washington vy. The City of Chicago.
cited as 15-cv-02648 (N.D. IL., J. Gottschall), in the amount of $4,950,000.00
